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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                  *
vs.                                            *   Case No.: 21-CR-28-APM
THOMAS E. CALDWELL                             *
         *     *      *      *      *     *        *     *     *     *      *

         DEFENDANTS’ REPLY TO GOVERNMENT’S OPPOSITION TO
      RECONSIDER ORDER DENYING MOTIONS TO DISMISS COUNTS 1 & 2

         The Government opposes reconsideration of this Court’s previous order (ECF

558) denying the Defendants’ Motion to Dismiss as to Counts 1 and 2 of the Sixth

Superseding Indictment (ECF 513) on the grounds that “a unanimous judicial chorus” has

ruled against challenges to 18 U.S.C. § 1512 related counts and that Caldwell’s

reconsideration motion “simply rehashes arguments this Court already considered and

soundly rejected.” ECF 573 at 1. Respectfully, the Court should grant the Defendants’

Motion to Dismiss or, in the alternative, conduct additional oral arguments to address the

substantive issues that Caldwell has raised.

      A. No Judge of this District, including this Court, has considered Caldwell’s
         reconsideration argument.
         In his reconsideration memorandum, Caldwell raised a fairly straight-forward

grammatical argument vis-à-vis the text and structure of 18 U.S.C. § 1512(c)(2). First,

Caldwell questioned why Congress would have inserted the word “otherwise” into §

1512(c)(2) for the purpose of demarcating separate and independent conduct between

subsections (c)(1) and (c)(2) when it could have accomplished the same outcome—which

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it did twenty times in other areas of § 1512--by using the word “or” alone (without

“otherwise”). ECF 556 at 12. Second, Caldwell argued that “otherwise” operates as a

“conjunctive adverb” in § 1512(c), which, as a matter of basic grammatical rules, means

that the adverbial clause (“otherwise obstructs, influences or impedes”) functions

exclusively to modify the preceding clause. Id. at 12-13. Neither this Court nor Judges

Friedlich, Boasberg, Moss, or Kelly have addressed the issues raised by Caldwell.1

Accordingly, the Government’s contention that Caldwell “simply rehashes arguments this

Court already considered and rejected” is inaccurate. ECF 573 at 1. Finally, as its

memorandum of law completely dodged2 the issues raised by Caldwell in his

reconsideration motion, the Government likewise has not weighed in on Caldwell’s

arguments.

    B. The Government tacitly reasserts Caldwell’s grounds for questioning the
       Court’s findings without providing answers.
       The Government characterizes 18 U.S.C. § 1512 as follows:

       The formatting of Subsection (c) mirrors the formatting of the remainder of
       Section 1512’s enumerated substantive crimes: within Subsections (a),
       (b), and (d), each numbered sub-section proscribes a separate and
       independent crime, all with the same mens rea and statutory penalty. Like
       Section 1512’s neighboring provisions, Section 1512(c) is not a single
       crime; it proscribes two separate crimes that share a mens rea and penalty.

ECF 573 at 3. Caldwell agrees with the Government that subsections (a), (b), and (d)


1
  The term “conjunctive adverb” never came up in briefing or oral arguments before this
Court. Additionally, undersigned counsel has reviewed multiple filings and transcripts
before other Judges of this Court and has found no indication that the issues raised by
Caldwell have been previously argued.
2
  In its 5-page opposition, the Government did not mention the terms “otherwise” or
“conjunctive adverb” one time.
                                            2
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create “separate and independent” methods of obstructing justice. Id. To be more

specific, subsections (a), (b), and (d) contain a combined twenty separate and

independent methods of obstructing justice. As previously argued by Caldwell,

however, Congress demarcated these twenty “separate and independent” methods of

obstruction of justice in subsections (a), (b) and (d) via the use of the disjunctive “or.”

See In re Epsy, 80 F.3d 501, 505 (D.C. Cir. 1996) ("[A] statute written in

the disjunctive is generally construed as setting out separate and distinct alternatives.")

(internal citation omitted).

       The Government, unfortunately, did not answer Caldwell’s question: Why would

Congress demarcate twenty separate and distinct methods of obstructing justice by using

the word “or” between subsections in (a), (b) and (d), but then feel the need to add the

word “otherwise” in subsection (c) to “underscore” or “clarify” that (c)(1) and (c)(2) are

disjoined?3 By adding the word “otherwise” in § 1512(c), respectfully, Congress must

have intended this term to have a purpose other than, as the Court found,

“underscor[ing]” that (c)(1) and (c)(2) outlaw different acts. ECF 558, at 27 fn. 6. See,

e.g., Russello v. United States, 464 U.S. 16, 23 (1983) (internal citation omitted)

("[Where] Congress includes particular language in one section of a statute but omits it in

another section of the same Act, it is generally presumed that Congress acts intentionally

and purposely in the disparate inclusion or exclusion.").


3
  The most obvious action that Congress could have done in drafting § 1512(c) to
“clarify” or “underscore” that subsections (c)(1) and (c)(2) are separate and independent
provisions, in fact, would have been to omit “otherwise” from the statute altogether.
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    C. Caldwell’s grammatical critique undermines the holdings in all adverse
       rulings issued in the U.S. District Court for the District of Columbia.
       Caldwell’s reconsideration argument as to why the word “otherwise” was

grammatically misapplied in the Court’s opinion, respectfully, applies equally to the

adverse opinions filed by other Judges of this District, as these rulings unanimously assert

that “otherwise” was inserted by Congress into § 1512(c)(2) for the purpose of disjoining,

or clarifying disjunction between, subsections (c)(1) and (c)(2).4 An accurate and

thorough grammatical analysis of § 1512(c), which was not previously offered by defense

counsel,5 is important: “After all, Congress communicates through written language,


4
  See United States v. Caldwell, No. 21-cr-28 (APM), 2021 WL 6062718, at *27, fn. 6
(D.D.C. Dec. 20, 2021) (Mehta, J.) (“The more important point is that the subsections are
separated by the word “otherwise,” which connects the two provisions but underscores
that the acts prohibited by (c)(1) are “different” from those prohibited by (c)(2).”); United
States v. Sandlin, No. 21-cr-88 (DLF), 2021 WL 5865006, at *10 (D.D.C. Dec. 10, 2021)
(Friedlich, J.) (“Thus, the interplay between § 1512(c)(1) and § 1512(c)(2) clarifies that
the latter prohibits obstruction by means other than document destruction.”); United
States v. Mostofsky, No. 21-cr-138 (JEB), 2021 WL 6049891, at *23 (D.D.C. Dec. 21,
2021) (Boasberg, J.) (“The use of “otherwise” is better understood as ‘clarif[ying] that
the latter prohibits obstruction by means other than document destruction.’”) (citing
Sandlin); United States v. Montgomery, No. 21-cr-46 (RDM), 2021 WL 6134591, at *26
(D.D.C. Dec. 28, 2021) (Moss, J.) (“otherwise” “signals a shift in emphasis . . . from
actions directed at evidence to actions directed at the official proceeding itself.”) (internal
citation omitted); United States v. Nordean, No. 21-cr-175 (TJK), 2021 WL 6134595, at
*13 (D.D.C. Dec. 28, 2021) (Kelly, J.) (“The use of the word “otherwise” suggests that
Section 1512(c)(2) was intended to target something different than (c)(1)—that is,
conduct beyond simple document destruction.”) (internal citation omitted).
5
  The army of defense attorneys handling the various J6 cases have done tremendous
work under incalculable pressure and have raised a multitude of creative and impressive
legal arguments in defense of their clients. Respectfully, however, the defense bar,
undersigned counsel included, in pursuing the most difficult, complex, and professionally
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and one component of written language is grammar[.]” NACS v. Bd. of Governors of

the Fed. Res. Sys., 746 F.3d 474, 486 (D.C. Cir. 2014).

   1. “Otherwise” is used as a conjunctive adverb in § 1512(c).
      The Sandlin Court, this Court, and others unwittingly acknowledged that

“otherwise” operates as a conjunctive adverb within § 1512(c) by characterizing

“otherwise” as an “adverb” that “link[s]” or “connects” subsections (1) and (2). See,

e.g., Sandlin at * 10; Caldwell at *27 fn. 6. An adverb that connects two independent

clauses is unmistakably a conjunctive adverb.6 The word “otherwise” is among a

handful of words in the English language that can be used as a conjunctive adverb.7

“When used to connect two related clauses, otherwise is usually classified as a

conjunctive adverb.”8 Because it appears in § 1512(c)(2) after a semicolon, the




challenging legal arguments, perhaps overlooked the most basic, grammar-based
arguments now raised by Caldwell. The Court cannot be faulted for not addressing an
argument not previously raised by defense counsel.
6
  William & Mary Writing Resource Center,
wm.edu/as/wrc/newresources/handouts/thesemicolon.pdf (listing “otherwise” as a
common conjunctive adverb placed after a semicolon that joins independent clauses);
see also Jennifer Gunner, M.Ed. (Education), https://grammar.yourdictionary.com/parts-
of-speech/adverbs/con-adverb.html.
7
  Id. See also University of Wisconsin Writing Center (list of conjunctive adverbs),
https://writing.wisc.edu/handbook/grammarpunct/conjadv/ ; North Dakota State
University Writing Center (list of conjunctive adverbs),
https://www.ndsu.edu/pubweb/~dasulliv/style/conjadv.htm#:~:text=accordingly%2C%20
furthermore%2C%20moreover%2C%20similarly,%2C%20undoubtedly%2C%20further
%2C%20meanwhile
8
  AMERICAN HERITAGE DICTIONARY OF THE ENGLISH LANGUAGE (5th Ed. 2020),
https://www.ahdictionary.com/word/search.html?q=otherwise, (Usage note) (emphasis
original).
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characterization of “otherwise” as a conjunctive adverb is accurate.9 The general rule

that conjunctive adverbs are followed by a comma, moreover, does not apply to

“otherwise”: “Otherwise,” along with the word “so,” are the only words that “do not

require a comma following them when they are [used as] conjunctive adverbs.”10

Finally, non-conjunctive adverbs modify surrounding words or phrases, yet “otherwise”

does not modify the words that follow it in its clause of residence (§ 1512(c)(2)), which is

insuperable proof that “otherwise” operates as a conjunctive adverb in the statute.11

       In short, it is indisputable that “otherwise” operates as conjunctive adverb in §

1512(c)(2). Accordingly, as noted infra, § 1512(c)(2) is an adverbial connecting clause

that does not act independently but, rather, serves exclusively to modify verbs in the

preceding clause.




9
   William & Mary Writing Resource Center,
wm.edu/as/wrc/newresources/handouts/thesemicolon.pdf (listing “otherwise” as a
common conjunctive adverb placed after a semicolon).
10
   The Tongue United (Univ. of Oregon School of Journalism and Communication),
http://www.grammarunited.com/blog/?p=894 (citing as an example: “You will need to
focus on the goal; otherwise it is easy to get distracted.”); see also AMERICAN HERITAGE
DICTIONARY OF THE ENGLISH LANGUAGE (5th Ed. 2021),
https://www.ahdictionary.com/word/search.html?q=otherwise (usage note regarding
“otherwise”) (“When introducing a new clause, otherwise is often followed by a
comma.”) (emphasis added).
11
   Dictionary.com (online dictionary and thesaurus),
https://www.thesaurus.com/e/grammar/conjunctive-adverbs/ (“Most of the time, adverbs
are words that we use to modify verbs, adjectives, or other adverbs. … A conjunctive
adverb acts differently than other adverbs by connecting independent clauses that can
stand alone as sentences. In this way it is still acting as a modifier by using one clause to
modify another.”).
                                              6
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     2. As “otherwise” is used as a conjunctive adverb, § 1512(c) does not set forth
        separate and distinct types of obstruction of justice.
        The purpose of a conjunctive adverb is two-fold. First, a conjunctive adverb

serves “to join ideas of equal value[,] [b]ut in joining these equal ideas, [it] show[s] a

strong relationship. A conjunctive adverb joins mutually dependent but equal ideas.”12

Second, and related, a conjunctive adverb, instead of modifying language in the clause

wherein it resides, modifies language in the preceding clause.13 Specifically,

“[c]onjunctive adverbs are verb-modifying words that connect ideas together.”14 A

conjunctive adverb is “a word that modifies a whole previous statement.”15 The “role”

of a conjunctive adverb “is to turn the clause that it introduces into an adverbial modifier

of the previous clause.”16

        Applying these principles to § 1512(c), it becomes crystal clear that subsections

(1) and (2) are inextricably tied together, with the second clause modifying the first

clause. Section 1512(c) provides:

        (c) Whoever corruptly—
        (1) alters, destroys, mutilates, or conceals a record, document, or
        other object, or attempts to do so, with the intent to impair the

12
   The Writing Center at San Antonio College,
https://www.alamo.edu/siteassets/sac/about-sac/college-offices/writing-
center/punctuating-conjunctive-adverb-in-simple-compound-sentences.pdf (emphasis
added).
13
   Dictionary.com (online dictionary and thesaurus),
https://www.thesaurus.com/e/grammar/conjunctive-adverbs/
14
   https://www.citationmachine.net/resources/grammar-guides/adverb/conjunctive/
(emphasis added).
15
   Frederick Crews, THE RANDOM HOUSE HANDBOOK 403 (6th ed. 1992).
16
   Andrew Smith, (International Business Consultant), We Speak Business,
https://www.we-speak-business.com/blog/conjunctive-adverbs (emphasis added).
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       object’s integrity or availability for use in an official proceeding; or
       (2) otherwise obstructs, influences, or impedes any official
       proceeding, or attempts to do so, shall be fined under this title or
       imprisoned not more than 20 years, or both.

18 U.S.C. § 1512(c). The verbs in (c)(1), which precede the “verb-modifying” word

“otherwise,” are “alters, destroys, mutilates, or conceals.” As a conjunctive adverb uses

“the second clause to modify the first clause like an adverb,”17 we must consider which

words in (c)(2) were intended to modify the proscriptive verbs in (c)(1) (“alters, destroys,

mutilates, or conceals”). The terms “official proceeding” and “attempts to do so” can be

ruled out as both terms appear in (c)(1) and (c)(2), which suggests that they are not the

operative modifying language in (c)(2). Additionally, it seems implausible that (c)(2)’s

penalty provision, “shall be fined under this title or imprisoned not more than 20 years, or

both,” would modify any language in (c)(1). By process of elimination, therefore, the

only words in (c)(2) that could possibly modify (c)(1)’s “alters, destroys, mutilates, or

conceals” are, not surprisingly, its verbs: “obstructs, influences, or impedes.”

       Accordingly, the adverbial clause’s verbs (“obstructs, influences, or impedes”)

modify in some way (c)(1)’s verbs of proscription (“alters, destroys, mutilates or

conceals”). The adverbial clause does not create a wholly independent class of

obstructive conduct; rather, it modifies the verbs of proscription in (c)(1), which are tied

to documentary and other tangible evidence. And how does the “otherwise” clause

specifically modify (c)(1)? A quick review of the Collins Dictionary is helpful:


17
   Jennifer Gunner, M.Ed. (Education), YourDictionary.com,
https://grammar.yourdictionary.com/parts-of-speech/adverbs/con-adverb.htm
                                              8
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               Otherwise--
               ADVERB [ADV before v]
               You use otherwise to indicate that other ways of doing
               something are possible in addition to the way already
               mentioned.18

To paraphrase Collins Dictionary, the “otherwise” clause in § 1512(c)(2) is used “to

indicate that unenumerated ways of tampering with tangible evidence are possible in

addition to the enumerated ways (“alter[ing], destroy[ing], mutilate[ing] or conceal[ing]”)

set forth in (c)(1).”

       Section 1512(c)(1) proscribes multiple ways (“alters, destroys, mutilates, or

conceals”)—but not every conceivable or imagined way--that tangible evidence can be

tampered with to “impair” or affect its “availability” for use at official proceedings. The

obvious purpose of the “otherwise” clause, accordingly, is to modify (c)(1)’s enumerated

verbs (“alters, destroys, mutilates, or conceals”) to clarify that Congress intended to

criminalize “other ways” of obstructing justice by tampering with tangible evidence that

“are possible in addition to the way[s] already mentioned.”19 In short, subsection (c)(1)

addresses the “letter of the law,” while (c)(2) addresses the “spirit of the law,” i.e., to

punish those who, with a nefarious purpose but in a way not specifically enumerated by

Congress in (c)(1), prevent tangible evidence from being obtained and accurately

considered by courts, Congress, and administrative agencies. As one district court

concluded: “Section 1512 was not intended to create two separate crimes, but instead


18
   COLLINS DICTIONARY (online version) (English learner’s edition)
https://www.collinsdictionary.com/us/dictionary/english/otherwise.
19
   Id.
                                               9
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was meant to criminalize difficult to enumerate conduct that would otherwise slip past

Section 1512(c)(1)’s specific proscription.” United States v. Hutcherson, No.

6:05CR00039, 2006 U.S. Dist. LEXIS 6652, at *6-7 (W.D. Va. Feb. 3, 2006).

       The “plain-meaning” of § 1512(c) is, respectfully, completely opposite of the

Court’s holding. Section 1512 as a whole is a statute that deals with the integrity and

preservation of testimonial and tangible evidence. Section 1512(c), as part of Sarbanes-

Oxley, was specifically added to 18 U.S.C. § 1512 in response to well-publicized

document hijinks central to the collapse of Enron. It is beyond belief that, without

substantive discussion, Congress intended to hand federal prosecutors an open-ended,

broadly worded obstruction statute--along with a 20-year penalty hammer--in the context

of targeting corporate document shredding. Subsections (c)(1) and (c)(2) are

inextricably tied together by the word “otherwise.” As set forth in detail, supra, the

verbs contained in the “otherwise” clause (“obstructs, influences, or impedes”) are

modifiers of the verbs in the preceding sentence (“alters, destroys, mutilates, or

conceals”), clarifying that Congress, in addition to enumerated methods, sought to reach

unenumerated (and unimaginable in the digital age) methods of tangible evidence

tampering. Section 1512(c), accordingly, requires proof that Caldwell and other

defendants committed acts of obstruction tied to tangible evidence. The Government has

made no such allegations and, accordingly, the Motion to Dismiss Counts 1 & 2 should

be granted.




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     D. The Court should conduct additional oral arguments to address the issues
        raised by Caldwell.

        While Caldwell appreciates the work and consideration that the Court put into

issuing its lengthy opinion in the instant case, the issues raised by Caldwell are

substantial as to the specific issue of the correct interpretation of 18 U.S.C. § 1512(c).

The Court clearly suggested at oral arguments that the resolution of the § 1512(c) issue

required significant contemplation. Similarly, the Court identified this issue as “the

most substantial of Defendants’ challenges[.]” ECF 558 at 25. Circuit and district

courts across the country, moreover, have split as to the § 1512(c) issue, and none of have

specifically addressed Caldwell’s arguments set forth supra. The issues raised by

Caldwell are substantial and worthy of additional dialogue between the Court and

counsel.

     E. Conclusion

        Respectfully, Caldwell requests that the Court reconsider its ruling denying

Defendants’ Motion to Dismiss as to Counts 1 & 2 of the Sixth Superseding Indictment

and grant the motion or, in the alternative, conduct one additional oral argument hearing

to reconsider the issues raised by Caldwell.20




20
   As the Government did not weigh in on the substance of Caldwell’s reconsideration
arguments, Caldwell would also welcome the Government’s written counter-arguments
to the issues raised.
                                              11
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                                         Respectfully Submitted,

                                                   /s/
                                         David W. Fischer, Esq.
                                         Federal Bar No. 023787
                                         Law Offices of Fischer & Putzi, P.A.
                                         Empire Towers, Suite 300
                                         7310 Ritchie Highway
                                         Glen Burnie, MD 21061
                                         (410) 787-0826
                                         Attorney for Defendant




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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 10th day of January, 2022, a copy of the foregoing
Defendant’s Reply to Government’s Opposition to Reconsider Order Denying Motion to Dismiss
Counts 1 & 2 was electronically filed with the Clerk of the United States District Court using
CM/ECF, with a notice of said filing to the following:

Counsel for the Government:                Office of the United States Attorney
                                           555 4th Street, NW
                                           Washington, DC 20001

                                                          /s/
                                                  David W. Fischer, Esq.




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